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                       United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 24-1188                                                    September Term, 2024
                                                                              EPA-89FR32532
                                                       Filed On: April 10, 2025 [2110289]
American Water Works Association and
Association of Metropolitan Water
Agencies,

                   Petitioners

         v.

Environmental Protection Agency and Lee
M. Zeldin, in his official capacity as
Administrator, United States Environmental
Protection Agency,

                   Respondents

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Concerned Citizens of WMEL Water
Authority Grassroots, et al.,
                   Intervenors
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Consolidated with 24-1191, 24-1192

                                             ORDER

       Upon consideration of respondents’ unopposed motion to continue to hold cases
in abeyance, it is

     ORDERED that the motion be granted, and these cases continue to be held in
abeyance pending further order of the court.

      The government is directed to file motions to govern future proceedings in this
cases by May 12, 2025.

                                                             FOR THE COURT:
                                                             Clifton B. Cislak, Clerk

                                                     BY:     /s/
                                                             Michael C. McGrail
                                                             Deputy Clerk
